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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                        Plaintiff,

vs.                                                   Criminal No. 05-1849 JH

DANA JARVIS,

                        Defendant.


                              MOTION TO CONTINUE HEARING


          Defendant Dana Jarvis, by and through counsel, Joe M. Romero, Jr., hereby moves the Court

for an Order continuing the hearing on three motions: 1) Motion by USA for Order to Show Cause

Why Protective Order Should Not be Vacated [Doc. No. 459], 2) Defendant’s Motion to Vacate

Protective Order [Doc. No. 537] and 3) Motion by USA for Interlocutory Sale of Real Property &

Liquor License No. 2599 [Doc. No. 664], which are currently set for Wednesday, September 20,

2006 at 2:00 pm before the Honorable Judith C. Herrera. As grounds therefore, Defendant Jarvis

states:

          1.     Because the three aforementioned motions pertain to the same property, judicial

economy will be served by hearing these motions within the same setting.

          2.     Pursuant to D.N.M. LR-CR 47.8, a response must be served within fourteen (14)

calendar days after service of the motion and a reply must be served within fourteen (14) calendar

days after service of the response. See also FED.R.CR.P. 45 (rules for computing time).

          3.     The Motion by USA for Interlocutory Sale of Real Property & Liquor License No.

2599 [Doc. No. 664] was filed on August 30, 2006. Accordingly, Defendant has until September 13,
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2006 to file his response. See D.N.M. LR-CR 47.8; FED.R.CR.P. 45.

       4.      This allows the government until September 27, 2006 by which to file its reply. See

D.N.M. LR-CR 47.8; FED.R.CR.P. 45.

       5.      Accordingly, the current setting of September 20, 2006 pre-dates the briefing period

allowable under D.N.M. LR-CR 47.8 by seven (7) days.

       6.      AUSA James R.W. Braun has been contacted regarding his position on this motion

and states that the government will likely not require the time allowed by the applicable rules in

which to file a reply. Consequently, the government opposes this motion to continue.

       WHEREFORE, Defendant respectfully requests that that Court enter an Order continuing

the hearing currently set for Wednesday, September 20, 2006 at 2:00 pm until a date after September

27, 2006.

                                                            Respectfully Submitted


                                                             Electronically filed 9/11/06
                                                         By: ____________________
                                                             Joe M. Romero, Jr.
                                                             Attorney for the Defendant
                                                             1905 Lomas NW
                                                             Albuquerque, NM 87104
                                                             (505) 843-9776
I hereby certify that a true and correct copy of the
foregoing was mailed to opposing counsel, AUSA
James Braun, on September 11, 2006.

Electronically filed 9/11/06
____________________________
Joe M. Romero, Jr.




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